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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8
      LARISA SOPKA, an individual; DANIELA
 9    SOPKA, an individual; and TATYANA
      SOPKA, an individual,
10
                                    Plaintiffs,
11
            vs.
12
                                                     NO. 2:24-cv-00011-BJR
      SOUTHCENTER OWNER LLC, a
13    Delaware limited liability company doing
      business in the State of Washington; THE       FIRST AMENDED COMPLAINT
14    CHEESECAKE FACTORY                             FOR DAMAGES
      RESTAURANTS, INC., a California
15    corporation doing business in the State of
      Washington; UNIVERSAL PROTECTION               Demand for Jury Trial
16    SERVICE, LP, d/b/a ALLIED
      UNIVERSAL SECURITY SERVICES, a
17    for-profit foreign limited partnership; JOHN
      AND JANE DOES 1-5, individuals or
18    entities,
19                               Defendants.
20

21          COMES NOW Plaintiffs Larisa Sopka, Daniela Sopka, and Tatyana Sopka, through
22   their attorneys Darrell L. Cochran, Kevin M. Hastings, Anderw S. Ulmer, and Nicholas A.
23   Gillan of Pfau, Cochran, Vertetis & Amala, PLLC, and Jason G. Epstein of Premier Law Group,
24   PLLC, by way of claim, and allege as follows:
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 1                                         I.       PARTIES
 2          1.      Plaintiff Larisa Sopka. Plaintiff Larisa Sopka is a resident of Gig Harbor, Pierce

 3   County, Washington. She is the mother of Daniela Sopka and Tatyana Sopka. On May 31,

 4   2022, Larisa and her daughters visited The Cheesecake Factory, located within the Westfield

 5   Southcenter Mall shopping center at 230 Strander Boulevard, Tukwila, WA 98188. While

 6   Larisa dined with her daughters, she was shot by an individual involved in a dispute with other

 7   patrons of the shopping center. In the moments leading up to and following the shooting, Larisa

 8   feared for her life, as well as the lives of her two daughters.

 9          2.      Plaintiff Daniela Sopka. Plaintiff Daniela Sopka is a resident of Mill Creek,

10   Snohomish County, Washington. She is the daughter of Larisa Sopka and the sister of Tatyana

11   Sopka. On May 31, 2022, Daniela was dining at The Cheesecake Factory with her mother and

12   sister. She witnessed an armed individual enter the restaurant and witnessed the shooting of

13   her mother, as well as its aftermath. During this time, Daniela feared for her life, as well as the

14   lives of her mother and sister.

15          3.      Plaintiff Tatyana Sopka. Plaintiff Tatyana Sopka is a resident of Mill Creek,

16   Snohomish County, Washington. She is the daughter of Larisa Sopka and the sister of Daniela

17   Sopka. On May 31, 2022, Tatyana was dining at The Cheesecake Factory with her mother and

18   sister. She witnessed an armed individual enter the restaurant and witnessed the shooting of

19   her mother, as well as its aftermath. During this time, Tayana feared for her life, as well as the

20   lives of her mother and sister.

21          4.      Defendant Southcenter Owner LLC. Defendant Southcenter Owner LLC is a

22   foreign limited liability company organized under the laws of Delaware, with its principal place

23   of business in California. Defendant Southcenter Owner LLC is registered to do business in

24   the State of Washington under UBI # 604 544 872. At all times material hereto, and upon

25   information and belief, Defendant Southcenter Owner LLC owned and operated Westfield

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     Southcenter Mall and parking lot located at 2800 Southcenter Mall, Seattle, WA 98188, and it
 2
     controlled and was responsible for the safety of the shopping center and parking lot.
 3
            5.      Defendant The Cheesecake Factory Restaurants, Inc. Defendant The
 4
     Cheesecake Factory, Inc. is a foreign for-profit corporation organized under the laws of
 5
     California, with its principal place of business in California. It is registered to conduct business
 6
     in the State of Washington under UBI # 602 068 943. At all times material hereto, and upon
 7
     information and belief, Defendant The Cheesecake Factory Restaurants, Inc. owned and
 8
     operated the Cheesecake Factory restaurant and parking lot located at 230 Strander Boulevard,
 9
     Tukwila, WA 98188, and it controlled and was responsible for the safety of the restaurant and
10
     parking lot.
11
            6.      Defendant Universal Protection Services, LP, d/b/a Allied Universal Security
12
     Services. Defendant Universal Protection Services, LP (“Defendant Universal”) is a for-profit
13
     foreign limited partnership. Defendant Universal Protection Service, LP is registered to
14
     conduct business in the State of Washington under UBI # 603 382 211. At all times material
15
     hereto, and upon information and belief, Defendant Universal did business as Allied Universal
16
     Security Services and provided security services at the Westfield Southcenter Mall and The
17
     Cheesecake Factory on the Westfield Southcenter Mall premises.
18
            7.      Defendant John/Jane Doe 1-5. At all relevant times, Defendant John/Jane Doe
19
     1-5 are and were individuals and/or entities who owed the plaintiffs a duty of care to protect
20
     them from harm but failed to do so, including but not limited to individuals and/or entities that
21
     were responsible for ensuring the restaurant, shopping center, and parking lots were safe for
22
     invitees, such as third party security companies and their agents. This lawsuit utilizes generic
23
     aliases to name these Defendants because their exact identities are currently unknown to the
24
     plaintiff. The purpose of this paragraph, as well as the entirety of this Complaint, is to put
25
     Defendants John/Jane Doe 1-5 on notice that they are named as defendants in this lawsuit.
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 1                           II.      JURISDICTION AND VENUE
 2          8.      Jurisdiction. This Court has diversity jurisdiction over this action under 28

 3   U.S.C. § 1332(a)(1). None of the Plaintiffs in this action are citizens of the same state of any

 4   of the Defendants, and the amount in controversy exceeds $75,000.00.

 5          9.      Venue. This Court has personal jurisdiction over the Defendants because

 6   Defendants are licensed to and regularly do conduct business in Washington; the unlawful

 7   conduct alleged in this Complaint occurred in, was directed to, and/or emanated, in part, from

 8   Washington; and/or Defendants have sufficient minimum contacts with Washington.

 9                            III.     FACTUAL ALLEGATIONS
10          10.     Plaintiff realleges the above paragraphs as if fully set forth below.
11          11.     On May 31, 2022, Plaintiffs were business invitees at The Cheesecake Factory,
12   located on the premises of the Westfield Southcenter Mall in Tukwila, Washington. Plaintiff
13   Larisa Sopka was dining with her daughters, Daniela Sopka and Tatyana Sopka.
14          12.     While sitting at their table in the restaurant, Plaintiffs noticed a commotion
15   outside the restaurant, in the parking lot of the restaurant and shopping center. Several
16   individuals were in a group and appeared to be in a dispute.
17          13.     Shortly thereafter, the commotion entered the restaurant. At least one of the
18   individuals was armed.
19          14.     Plaintiff Daniela Sopka saw that one of the individuals possessed a firearm and
20   quickly warned her mother and sister.
21          15.     Fearing for their lives and realizing that it would be difficult and dangerous to
22   attempt to leave the restaurant, Plaintiffs took refuge underneath their table at the restaurant.
23          16.     Shortly thereafter, at least one of the individuals involved in the dispute
24   discharged a firearm.
25          17.     Plaintiff Larisa Sopka was shot and injured by a bullet fired by one of the
26   individuals. The bullet struck her left leg, fracturing her fibula. Plaintiffs Daniela and Tatyana



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     Sopka attempted to aid their mother, while still fearing gunshots and being killed. One of the
 2
     daughters helped Larisa make a tourniquet for her gunshot wound, while the other daughter
 3
     notified police and emergency medical services of the shooting. During this time, all three
 4
     Plaintiffs remained in danger and feared for their lives, as chaos erupted in the restaurant.
 5
            18.     As a result of the shooting, Larisa Sopka now suffers from chronic and
 6
     potentially permanent nerve damage to her left leg and foot. Larisa has also suffered
 7
     psychological and emotional injuries from the shooting and the fear that accompanied it,
 8
     including but not limited to post-traumatic stress disorder, generalized anxiety disorder, and
 9
     depression. As a result of her physical and psychological trauma, Larisa has developed several
10
     phobias and frequently experiences panic attacks. Sopka’s injuries have prevented her from
11
     continuing her work as a registered nurse practitioner, leading to the loss of wages.
12
            19.     As a result of the shooting, Daniela and Tatyana Sopka suffered and exhibit
13
     objective symptomology of emotional and psychological injuries from witnessing the shooting
14
     of their mother and fearing for their lives, including but not limited to post-traumatic stress
15
     disorder, anxiety disorders, and depression.
16
            20.     Plaintiffs were innocent bystanders, not the targets of the shooting.
17
            21.     Unfortunately, violence and shootings were not new to the premises of Westfield
18
     Southcenter Mall and The Cheesecake Factory in Tukwila, WA. Scores of crimes, including
19
     assaults, shootings, carjackings, robberies, thefts, and instances of domestic violence had
20
     occurred on the premises over the years before May 2022.
21
            22.     Defendants each and all knew about the danger of violence and shootings on
22
     their premises and knew that the violence and shootings posed a substantial risk of harm to
23
     bystanders patronizing their businesses.
24
            23.     Defendants affirmatively fostered and supported the creation and maintenance
25
     of the dangerous environment on their premises, by failing to mitigate the dangers of violence
26
     on their property.


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 1
            24.     Despite the rampant crime and violence occurring on their premises, Defendants
 2
     failed to take reasonable steps to make their premises safer for those patronizing their services.
 3
            25.     Defendants failed to implement appropriate security protocols, and any security
 4
     measures they did implement were insufficient given the nature and extent of the prior crimes
 5
     occurring on the premises.
 6
            26.     In fact, one of Defendant The Cheesecake Factory’s employees who worked at
 7
     the restaurant’s Tukwila location told local news reporters, “Literally, anyone can walk in and
 8
     shoot a gun. We don’t have security or someone guarding the doors.”
 9
            27.     Defendants were involved with ensuring the safety of The Cheesecake Factory
10
     and the Westfield Southcenter Mall premises. Plaintiff identifies John and Jane Does with
11
     reasonable particularity, pursuant to the directive of Powers v. Mobile Services, Inc., 182 Wn.2d
12
     159, 339 P.3d 173 (2014), to preserve a cause of action against those individuals or entities who
13
     were tasked with ensuring the safety and well-being to business invitees on the premises of The
14
     Cheesecake Factory and Westfield Southcenter Mall who acted unreasonably, below the
15
     standard of care, in a negligent fashion, to cause Plaintiff’s injuries.
16
                                  IV.       CAUSES OF ACTION
17
                                                COUNT I
18                                       PREMISES LIABILITY
19                                         As to all Defendants
                                        (Washington Common Law)
20
            28.     Plaintiff incorporates by reference all preceding paragraphs, restating the
21
     information contained therein, and further alleges as follows:
22
            29.     Plaintiff was a business invitee at The Cheesecake Factory restaurant at
23
     Westfield Southcenter Mall.
24
            30.     The acts and/or omissions of Defendants herein constitute negligence.
25
     Defendants owed Plaintiff a duty to protect her from the reasonably foreseeable criminal
26
     conduct of third parties and unreasonably dangerous conditions. Defendants breached this duty,


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     and the breach was a direct, proximate, and foreseeable cause of Plaintiff’s serious and
 2
     permanently disabling physical, psychological, and emotional injuries, as well as general and
 3
     special damages, the full extent of these injuries to be proven at trial.
 4
                                              COUNT II
 5                                         NEGLIGENCE
                                         As to all Defendants
 6                                    (Washington Common Law)
 7          31.     Plaintiff incorporates by reference all preceding paragraphs, restating the
 8   information contained therein, and further alleges as follows:
 9          32.     The acts and/or omissions of Defendants constitute negligence, including but
10   not limited to negligent hiring, supervision, and retention of security personnel at Westfield
11   Southcenter Mall and The Cheesecake Factory; the negligent response to the shooting at The
12   Cheesecake Factory; and failure to install proper devices to monitor individuals on the premises,
13   proper security cameras, and other devices. As a direct, proximate and foreseeable cause of
14   Defendants’ failure to provide adequate security to prevent criminal and tortious activity and
15   prevent Plaintiff from being attacked and injured, Plaintiff sustained serious and permanently
16   disabling physical, psychological, and emotional injuries, as well as general and special
17   damages, the full extent of these injuries to be proven at trial.
18
                                         COUNT III
19                            COMMON LAW GROSS NEGLIGENCE
                                     As to All Defendants
20                                (Washington Common Law)
21          33.     Plaintiff incorporates by reference all preceding paragraphs, restating the

22   information contained therein, and further alleges as follows:

23          34.     The acts and/or omissions of Defendants constitute gross negligence.

24   Defendants failed to exercise even slight care in the hiring, supervision, and retention of security

25   personnel at Westfield Southcenter Mall and The Cheesecake Factory; failed to exercise even

26   slight care in response to the shooting in the Westfield/The Cheesecake Factory parking lot;



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 1
     and failed to exercise even slight care by failing to install proper devices to monitor individuals
 2
     on the premises, proper security cameras, and other devices. As a direct, proximate and
 3
     foreseeable cause of Defendants’ failure to exercise even slight care in the prevention of
 4
     criminal and tortious activity on their premises, Plaintiff Larisa Sopka sustained serious and
 5
     permanently disabling physical, psychological, and emotional injuries, as well as general and
 6
     special damages, the full extent of these injuries to be proven at trial.
 7
                                       COUNT IV
 8                   NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                                    As to Defendants
 9                              (Washington Common Law)
10            35.   Plaintiff incorporates by reference all preceding paragraphs, restating the
11   information contained therein, and further alleges as follows:
12            36.   Based on the paragraphs set forth and alleged above, Plaintiffs’ emotional
13   injuries were foreseeably caused by the negligent conduct of Defendants. Plaintiffs’ emotional
14   distress was reasonable, given the circumstances of the shooting of Plaintiff Larisa Sopka.
15   Plaintiffs’ emotional injuries caused by the shootings on May 31, 2022, on Defendants’
16   premises were and continue to be manifested by objective symptomology. Therefore, the
17   Defendants’ conduct constituted negligent infliction of emotional distress, and Defendants are
18   liable for Plaintiffs’ damages proximately caused by their actions as provided in more detail
19   above.
20            37.   The Plaintiffs’ proximity to the shooting placed them within the field of danger.
21   Each of the Plaintiffs witnessed the shooting and were forced to take cover from the shots. Each
22   of the Plaintiffs feared for their lives and the lives of their loved ones. The trauma caused by
23   this event continues to negatively impact each of the Plaintiffs up to the present day.
24
                             V.       RESERVATION OF RIGHTS
25            38.   Reservation of Rights. Plaintiff reserves the right to assert additional claims as
26   may be appropriate following further investigation and discovery.



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 1                             VI.       JURY DEMAND
 2       39.   Jury Demand. Plaintiff demands this case to be tried by a jury.

 3                        VII.       PRAYER FOR RELIEF
 4       40.   Relief. Plaintiff respectfully requests the following relief:
 5
               A. That the Court award Plaintiff appropriate relief, to include all special and
 6                general damages established at trial;

 7             B. That the Court award pre-judgment interest on items of special damages;

 8             C. That the Court award post-judgment interest;
 9             D. That the Court award all other damages, including exemplary, under choice
                  of law principles;
10

11
               E. That the Court award Plaintiff such other, favorable relief as may be
                  available and appropriate under law or at equity, including costs; and
12
               F. That the Court enter such other and further relief as the Court may deem just
13                and proper.

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 1
         SIGNED this 31st day of May, 2024.
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                                    PFAU COCHRAN VERTETIS AMALA PLLC
 4
                                    By:       s/ Darrell L. Cochran
 5                                            Darrell L. Cochran, WSBA No. 22851
                                              Attorney for Plaintiffs
 6

 7                                  By:       s/ Kevin M. Hastings
                                              Kevin M. Hastings, WSBA No. 42316
 8
                                              Attorney for Plaintiffs
 9

10
                                    By:       s/ Andrew S. Ulmer_____
                                              Andrew S. Ulmer, WSBA No. 54842
11                                            Attorney for Plaintiffs

12
                                    By:       s/ Nicholas A. Gillan_____
13                                            Nicholas A. Gillan, WSBA No. 61555
                                              Attorney for Plaintiffs
14

15                                  PREMIER LAW GROUP
16
                                    By:       /s/ Jason G. Epstein
17                                            Jason G. Epstein, WSBA No. 31779
                                              Attorney for Plaintiffs
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